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1                                                          Judge Franklin D. Burgess
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7                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
8                                       AT TACOMA
9    UNITED STATES OF AMERICA,                     )
                                                   )       NO. CR06-5528FDB
10                          Plaintiff,             )
                                                   )       ORDER GRANTING
11                  v.                             )       STIPULATED MOTION TO EXTEND )
                                                           TIME FOR LINEUP
12   TIGRA J.A. ROBERTSON,            )
                                      )
13                    Defendant.      )
     _________________________________)
14
            The United States, and Defendant Tigra J.A. Robertson, having filed a stipulated
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     motion seeking to extend time to conduct an in-person lineup of Robertson,
16
     ACCORDINGLY,
17
            IT IS ORDERED that the stipulated motion is GRANTED and the lineup shall
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     //
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     //
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                                                                                      UNITED STATES ATTORNEY
                                                                                       1201 Pacific Avenue, Suite 700
     [PROPOSED] ORDER/Motion Regarding Extension of Lineup - 1                          Tacoma, Washington 98402
     United States v. Blum, et al./Tigra Roberston/CR06-5528FDB                               (253) 428-3800
            Case 3:06-cr-05528-BHS          Document 167          Filed 03/14/07   Page 2 of 2



1    take place at a date and place agreed to by the parties, but no later than April 2, 2007.
2           IT IS SO ORDERED.
3

4           DATED this 14th day of March, 2007.



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7                                                  FRANKLIN D. BURGESS
                                                   UNITED STATES DISTRICT JUDGE
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     Presented by:

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13
     s/ Michael Dion
14   MICHAEL DION
15
     Assistant United States Attorney

16
     s/ Jill Otake
17   JILL OTAKE
18
     Assistant United States Attorney

19
     s/ Michael Schwartz (per telephonic auth.)
20   MICHAEL SCHWARTZ
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                                                                                      UNITED STATES ATTORNEY
                                                                                       1201 Pacific Avenue, Suite 700
     [PROPOSED] ORDER/Motion Regarding Extension of Lineup - 2                          Tacoma, Washington 98402
     United States v. Blum, et al./Tigra Roberston/CR06-5528FDB                               (253) 428-3800
